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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

JESSICA HOGAN,                                    )      CASE NO: 2:15-CV-2883
                                                  )
       Plaintiff,                                 )      Judge Algenon L. Marbley
                                                  )
v.                                                )
                                                  )
CLEVELAND AVE. RESTAURANT, et. al,                )
                                                  )
       Defendants.                                )

______________________________________________________________________

        DEFENDANTS’ REPLY TO PLAINTIFF’S RESPONSE TO MOTION
            FOR EXTENSION OF TIME TO COMPLY WITH ORDERS
                  TO PRODUCE IN DOCS #423 AND #437
______________________________________________________________________

       Now come Defendants, by and through undersigned counsel, and hereby submit

this Reply to Plaintiff’s Response to Defendant’s request for an extension of time. As

indicated in Defendants’ motion, the parties were dealing with the production issues

informally when Plaintiff abruptly changed course. On September 11, 2023,

undersigned counsel provided opposing counsel an update on the redaction process.

Opposing counsel responded by saying:

               “Thanks, Tony, I appreciate the update. If you want to let me know what
               extra time you need to comply with the orders -- whether it's with the
               August 2 order, the September 6 order, or both -- just let me know. It
               shouldn't be a problem. Also, if you need different extensions for different
               clients, just let me know that too. Thanks.
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(Email Correspondence attached.) Accordingly, Defendants were understandably

caught off guard when soon thereafter opposing counsel decided there was a problem

after previously stating there “shouldn’t be a problem.”

       As can also be seen in the attached email correspondence, undersigned counsel

also broached the subject of a protective order to alleviate the burden. Opposing

counsel does not respond to the query, and in similar fashion did not do so in response

to the motion for extension Defendants needed to file as a result of the breakdown of

informal efforts by counsel.

       The process of redaction is going to much more difficult than undersigned

counsel anticipated, and this should be understood by opposing counsel. Without

informal cooperation from the other side, court intervention is welcomed at this point.

And, that intervention may need to be ongoing as suggested in the motion.

       Wherefore, Defendants request that this Honorable Court allow for an extension

of thirty (30) days to meet the obligations of the recent Court Orders, or some other

solution that may be more effective than continual motion practice.

                                                 Respectfully submitted,




                                                 /s/Anthony R. Cicero
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                                                     robgurry@gocicero.com
                                                     Trial Attorney for Defendants: Cheeks
                                                     Defendants; Fantasyland West
                                                     Defendants; House of Babes
                                                     Defendants




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this sixth day of October, 2023, I electronically filed

the foregoing with the Clerk of the Court by using the CM/ECF system which will send a

notice of electronic filing to all parties in this case.



                                                     /s/ Anthony Cicero
                                                     Anthony R. Cicero, Esq. (0065408)




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